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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
       ETHICS IN WASHINGTON et al.,

                        Plaintiffs,
                                                             No. 1:19-cv-1333 ABJ
        v.

 DONALD J. TRUMP et al.,

                        Defendants.


                                             NOTICE

       Pursuant to the Court’s Minute Entry of October 1, 2019, Defendants hereby state the

following: Without waiving Defendants’ arguments that the Court lacks subject matter jurisdiction

over this action, or Defendants’ arguments regarding privileged legal advice and lack of risk of

spoliation, and without conceding that the categories of information identified in Plaintiffs’ Motion

for Temporary Restraining Order are relevant to the claims and defenses in this action, Defendants

voluntarily agree, solely in the interest of acceding to the Court’s request to moot Plaintiffs’

Motion, to preserve the material at issue pending the Court’s resolution of Defendants’ Motion to

Dismiss.

       To that end, Defendants today instructed relevant personnel to preserve the information in

the six categories identified in Plaintiffs’ Motion. This preservation instruction is consistent with

and supplements the litigation hold already in effect in this action, which instructed relevant

personnel to preserve all evidence relevant to the claims and defenses in this case. It further

supplements pre-existing instructions to all White House personnel to preserve all presidential

records, whether in hard-copy or electronic form. See Memorandum for All Personnel Regarding
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Presidential Records Act Obligations (Feb. 22, 2017), https://go.usa.gov/xEckn (National

Archives).



October 2, 2019                         Respectfully submitted,

                                        JOSEPH H. HUNT
                                        Assistant Attorney General
                                        MARCIA BERMAN
                                        Assistant Director, Federal Programs Branch

                                        /s/ Kathryn L. Wyer
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